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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 OPTIS WIRELESS TECHNOLOGY, LLC,                 §
 OPTIS CELLULAR TECHNOLOGY,                      §
 LLC,        PANOPTIS    PATENT                  §
 MANAGEMENT, LLC,       UNWIRED                  §
 PLANET, LLC, UNWIRED PLANET                     §
 INTERNATIONAL LIMITED,                          §
                                                 §
                                                 §   CIVIL ACTION NO. 2:19-CV-00066-JRG
               Plaintiffs,                       §
                                                 §
 v.                                              §
                                                 §
 APPLE INC.,                                     §
                                                 §
               Defendant.                        §

                                            ORDER
       The Court issues this Order sua sponte. Before the Court is Defendant Apple Inc.’s Motion
    .
to Continue Trial (the “Motion”). (Dkt. No. 341.) Having considered the same, the Court is of

the opinion that expedited briefing is appropriate.    Accordingly, Plaintiffs Optis Wireless

Technology, LLC; Optis Cellular Technology, LLC; PanOptis Patent Management, LLC; Unwired

Planet, LLC; and Unwired Planet International Limited are hereby ORDERED to file any

Response to the Motion on or before 5:00 p.m. CDT on Friday, July 17, 2020. No reply or

sur-reply may be filed without leave of Court.


      So ORDERED and SIGNED this 15th day of July, 2020.




                                                       ____________________________________
                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE
